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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

Civil Action No. 1:18-cV-1 15 85 -NMG
GIANNA KRSTIC,

Plaintiff,

V.

SOFREGEN MEDICAL INC., and
ALLERGAN, INC.

Defendants.

 

 

MEMORANDUM'OF LAW IN SUPPORT OF
LAINTIFF’S MOTION TO ALTER. AMEND AN]) VACATE THE DISMISSAL
PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 60(b)(1) and (6) and
MOTION FOR LEAVE T() AMEND THE COMPLAINT PURSUANT TO FEDERAL
RULE OF CIVIL PROCEDURE 15 (a)(l)_

Plaintiff Gianna Krstic, by and through her counsel, moves for Vacation of the Order of

Dismissal entered on April 8, 20191, of this Action pursuant to Fed. R. Civ. P. 60(b)(l) and (6);
opposes Defendant Sofregen Medical Inc.’s Original Motion to Dismiss for the reasons set forth
in the accompanying Memorandurn of Law and respectfully seeks Leave to Amend her
Complaint pursuant to Fed.R.Civ. P. ]5(a)(2). The subject of Sofregen’s Motion to Disrniss
pursuant to Rule 12(b)(6) is the First Amended Complaint, attached as Exhibit B. Plaintiff
attaches her proposed Second Amended Complaint as Exhibit C.

I. VACATION OF THE OR])ER OF DISMISSAL AS TO SOFREGEN
MEDICAL INC. IS PROPER HERE.

 

1 The Order of Dismissal Granting Sofregen’s Motion is attached to as Exhibit D.

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Plaintiff and Defendant Sofregen Medical, Inc. (“Sofregen”) have been engaged in
discussions concerning dismissal of this matter during the time the motion to dismiss Was filed.
Plaintiff asked for confidential documentation that supported Sofregen’s position that Allergan,

the original owner, manufacturer and seller of the subject product, the SERI SCAFFOLD

SURGICAL mesh (“SERI” or “sill< mesh”) had retained liabilities,for,the,preduct,after,the,sale,,,,,,,,,,

of the product to Sofregen in November 2016. Sofregen could not or Would not produce proof
that Allergan had indeed-retained the liabilities in the agreement of sale between Allergan and
Sofregen. And, Allergan interposed an objection to dismissal of Sofregen through a letter by
counsel. As a consequence, Defendant Sofregen agreed not to seek to dismiss the case through
April ll, 2019, so that Plaintiff could oppose Sofregen’s Rule lZ(b)(6) motion. HoWever, due to
attorney office mistake, a stipulation and/or leave to file a delayed response to extend the time to
respond until April ll, 2019 Was not filed With the Court. Therefore, Plaintiff respectfully seeks
to vacate the dismissal and reinstate the case and moves for leave to file the Second Amended
Complaint Which is attached as Exhibit C.
II. l ALLEGAN INC HAS NOT INTERPOSED AN ANSWER OR MOVED TO
DISMISS THE CASE SINCE SETTLEMENT DISCUSSIONS HAVE BEEN
ONGOING WITH PLAINTIFF.
Further, during the time period the l\/Iotion to Dismiss Was pending, Defendant Allergan
did not respond to the Complaint per an agreement With Plaintiff because settlement discussions
have been underway between Allergan and Plaintiff. Plaintiff has produced thousands of pages
of medical records to both Allergan and Sofregan and a detailed demand letter in an attempt to
resolve this matter. Allergan’s counsel then requested additional records, Which Plaintiff

supplied A Copy of all of the medical records and the detailed demand letter Was also provided

to Sofregen.

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Dismissal of the case at this stage is not Warranted. First, Sofregen has agreed to delay in
Plaintiff` s response to its Motion.

And, Allergan has not responded to the Complaint since it has been engaging in
settlement discussions Plaintist claims against Allergan should stand because no outstanding

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Plaintiff attaches the Declaration of Paula Bliss, Esquire as Exhibit A.
III. BACKGROUND OF THE CASE

Sofregen is, from all aecounts, a one product company formed by a group of
businesspersons and scientists financed by a venture capital group to develop this one product:
Silk Mesh. Sofregen describes itself as “a force for beauty. We provide plastic surgeons With
natural biomaterials to enhance their surgical artistry and achieve more durable results for their
patients. We are focused on “silk science for advanced aesthetics” _ unlocki_ng the enormous
potential of purified silk protein to facilitate soft tissue regeneration for a range of aesthetic

procedures and surgery.” https://WWW.sofregen.com/our-storv The sole product that Sofregen

 

advertised, promoted and sold Was SERI ®SURGICAL SCAFFOLD until 2017, When it
introduced another SERI product to its product line. When SERI ®SURGICAL SCAFFOLD
Was used by a plastic surgeon, Dr. Deirdre Marshall, on beautiful Gianna Krstic, it did nothing
more than hideously disfigure her, fail to perfomi as advertised, scarred her and caused her to
suffer serious and life threatening adverse reactions to the silk mesh. Sofregen’s SERI
®SURGICAL SCAFFOLD is the subject of this products liability lawsuit Sofregen seeks to be
immunized from liability for this product’s failure to perform as promoted and injuries it caused

When used as promoted off-label by Sofregen’s predecessor in interest, Allergan, Inc.

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As a result of the SERI® Surgical Scaffolding’s defective nature, including but not
limited to, its failure to biodegrade, Ms. Krstic suffered significant inj uries, need for additional
reconstructive surgeries, Which caused disfigurement and harrn, the impairment of the use of her
right arrn, additional medical problems, anxiety, depression, severe emotional pain and distress,

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IV. BACKGROUND ON SERI® SURGICAL SCAFFOL])S AND SERI
SCAFFOLD SURGERY

SERl® Surgical Scaffold is a silk mesh marketed for use in plastic surgery and
reconstructive surgeries to serve as the base for the body to regenerate tissue after medical
problems. The sterile product looks similar to a silk screen and can be cut into many shapes and

_ sizes for surgical use Without tearing or fraying. Because of its flexibility, Allergan marketed
SERI® Surgical Scaffold as useful in laparoscopic surgeries because it easily fit into
laparoscopic tools. Serica Technologies originally created the scaffold in the mid-2000s. In 2010,
Allergan lnc. acquired Serica Technologies and its scaffold technology.

In November 2016, Sofregen Medical, Inc. purchased the product line in an acquisition
said to “strategically [align]” With Sofregen’s vision'of advancing a variety of silk-based
solutions to treat patients With soft-tissue defects. The Chairrnan of Sofregen Medical, Howard
Weisman, referred to the SERI® Surgical Scaffold as “pioneering technology” and remarked on
the global market’s expectation for products addressing Soft-tissue aesthetics to reach $5 billion
in 2017. First Am. Cmplt. 11129-35

Sofregen and Allergan represented that the silk Product Would not trigger a foreign body
immune response. Despite that representation, the Product did trigger a foreign body response in

Ms. Krstic. Allergan and Sofregen instructed surgeons to place the scaffold over the area that

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needs support such as the bottom and side of the breast in breast-reconstruction surgeries. The
surgeon Was to place stitches in the scaffold to hold it in place. While in place, the scaffold Was
represented as having the ability to reinforce and strengthen the patient’s soft tissue. As the soft
tissue repairs itself post-surgery, it is intended to absorb the silk mesh over time. By the end of

m mmmthe,process,,the,silk,scaffold,vvas,intende,d,to,he,mostlynor,c,omple,telyreahsorbed by the body m
and entirely replaced With regrovvn soft tissue. In places Where the silk mesh Was not reabsorbed,
it Was to have significantly degraded and softened. First Am. Cmplt. 1113 6-37

SERI® Scaffold Was market cleared by FDA for “use as a transitory scaffold for soft
tissue support and repair to reinforce deficiencies Where Weakness or voids exist that require the
addition of material to obtain the desired surgical outcome.”

On May 29, 2015, the FDA issued a Warning Letter to the Quality Assurance Director at
Allergan, the manufacturer, distributer, promoter, marketer and seller of SERI® Surgical
Scaffolds in the United States. The Warning Letter reported that Allergan Was selling these
Surgical Scaffolds Without marketing clearance or approval by the FDA in violation of the
Federal Food, Drug and Cosmetic Act. The Waming Letter indicated Allergan Was over
marketing its Product, including the general soft tissue reconstruction and soft tissue
reinforcement in plastic and reconstructive Surgery. FDA stated the breast surgery indication Was
outside SERI®’s intended use because “surgical mesh has not been cleared or approved for use
in breast reconstruction using a tissue expander or implant.”

The FDA stated that it had reviewed Allergan’s Website and found that the SERI®
Surgical Scaffold Was adulterated and marketed in violation of section 501(f)(1)(]3) of the Food,
Drug and Cosmetic Act, 21 U.S.C. § 321(h) by Allergan. The FDA found that Allergan Was

selling the Product in violation of the Act because the Product Was misbranded, among other

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violations Sofregen Medical Ine., a Massachusetts privately held corporation acquired SERI®
Surgical Scaffolds from Allergan on or about November 14, 2016. First Am. Cmplt. 1117-9

ARGUMENT

I. LEGAL STAN])ARD

A. Under the Circumstances Preventer, It is Appropriate to Vacate the
Order of Dismissal.

Rule 60 of the Fed. R. Civ. P. provides:

Grounds for Relief from a Final Judgment. Order, or Proceeding. On motion and just

 

terms, the court may relieve a party or its legal representative from a final judgment, order, or
proceeding for the following reasons:

(l) mistake, inadvertence, surprise, or excusable neglect; or

(6) any other reason that justifies relief.

Here, the delay in responding to the motion to dismiss was as a result of mistake,
inadvertence, and excusable neglect

The Court's decision to dismiss the entire case is legally erroneous First, Plaintiff
respectfully submits that the dismissal reflects clerical error. Defendant Sofregen asked that
Sofregen be dismissed not that Allergan be Dismissed. And, under the Complaint, Claim One
and Two are directed at Allergan. Only Claim Three is directed at Sofregen Sofregen is liable
for its continuous fraudulent concealment of the medical problems caused by the silk mesh at
issue in the case. Sofregen acquires the product and responsibility for the product in 2016, two
years after Mrs. Krstic was implanted with the silk mesh. By dismissing the entire complaint,
the Court inadvertently dismissed the claims against Allergan even though Allergan has not, as

yet, interposed an answer to the Complaint. Reinstatement of the action against Allergan in its

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entirety is proper. See Greene v Um'on Mnt. Ll'fe Ins. Co. of America, 764 F.2d 1937,(15t Cir.
1985)
Second, Plaintiff and Defendant Sofregen had agreed that Plaintiff may interpose a

response on or before April 11, 2019. Defendant Sofregen agreed not to seek to dismiss for a

to demonstrate why Sofregen is not liable under these circumstances Unfortunately, despite
bests efforts of counsel, such an agreement could not be reached so then, Sofregen agreed that it
would not oppose the delayed response to its Motion to dismiss Plaintiff s counsel inadvertently
failed to alert the Court.

Third, during this time period, Plaintiff and Defendant Allergan have been engaged in
settlement discussions Plaintiff provided hundreds of pages of medical records to both
Defendants and provided a very detailed demand letter to both Allergan and Sofregen.
Defendant Allergan requested additional information which was also produced to Allergan.

Therefore, the inadvertent failure to apprise the Court of both the settlement negotiations
and of the delay in responding to the motion to dismiss does not prejudice the defendants and
therefore, Plaintiff respectfully seeks vacation of the dismissal and reinstatement of her action

B. The Complaint Should Not Be Dismissed under Rule 12(b)(6).

A complaint should be dismissed under Rule 12(b)(6) only where it appears that the facts
alleged fail to state a “plausible” claim for relief. See Bell Arlantic Corp. v. Twombly, 550 U.S.
544, 555-56 (2007). A complaint may survive a motion to dismiss, however, even if it is
“improbable” that a plaintiff would be able to prove those facts and even if the possibility of
recovery is extremely “remote and unlikely.” Id. at 556 (citations and quotations omitted). A

claim is plausible where the plaintiff alleges factual content that “allows the court to draw the

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reasonable inference that the defendant is liable for the misconduct alleged.” Ashcrofl v. Iqbal,
556 U.S. 662, 678 (2009).

When considering a 12(b)(6) motion to dismiss, the Court must “accept as true all factual
statements alleged in the complaint and draw all reasonable inferences in favor of the non-

,,m,,mmmmmoving,party.lMc,Carrhy,v.,Dun,&,Bmdsrreet,Corp.,, 482 E.3,d,,1,84,,1,9,l,(2d,Cir.20,0,7,)

 

l\/loreover, the federal pleading rules do not countenance dismissal of a complaint for an
imperfect statement of the legal theory supporting the claim asserted See Johnson v_ Cily of
Shelby, Mz'ss., 135 S. Ct. 346, 346 (2014) (per curiam).

“The function of a motion to dismiss is ‘merely to assess the legal feasibility of the
complaint, not to assay the weight of the evidence which might be offered in support thereof`.”’
Mytych v. May Dept. Srores Co., 34 F. Supp.2d 130, 131 (D.Conn.l999), quoting Ryder Energy
Diszriburion v. Merrill Lynch Commodities, Inc., 748 F.2d 774J 779 (2d Cir.1984). “The issue on

' a motion to dismiss is not whether the plaintiff will prevail, but whether the plaintiff is entitled to
Offer evidence tO SuppOrt his claims.” Unil‘ed Srates v. Yr;rle New Haven Hosp., 727 F. Supp. 784,
786 (D.Conn.1990) (citations omitted).

To survive a motion to dismiss for failure to state a claim under Fed. R.Civ.P. 12(b)(6),
the claim for relief must contain “sufflcient factual matter” such that it is.actionable as a matter
of law and “plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 667, 129 S.Ct. 1937, 173
L.Ed.2d 868(2009) (quoting Bell All‘. Corp. v. Twombly, 550 U.S. 544, 570, 127 S.Ct. 1955, 167
L.Ed.Zd 929 (2007). A claim is factually plausible if, after accepting as true all non-conclusory
factual allegationsj the court can draw the reasonable inference that the defendant is liable for the

misconduct alleged. Ocasio-Hemandez v. Fortuno-Bursel, 640 F.3d 1, 12 (1St Cir. 2011).

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First and foremost, Sofregen seeks to dismiss this case without any discovery on
particularly difficult questions: whether Sofregen can be held responsible for the defective
product it acquired from Allergan, and whether the claims against Sofregen are preempted It is
premature
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A. Plaintiff agrees that Florida LaW Applies to the Torts at Issue in this
Case.

Jurisdiction of this Court in this matter is based upon diversity pursuant to 28.U.S.C.
§1332. Plaintiff is a North Carolina resident and citizen, Sofregen is headquartered in
l\/lassachusetts, and Allergan is headquartered in Califomia. First Am. Cmplt. 111110-12 Both 1
Sofregen and Allergan were incorporated in Delaware.

A federal court sitting in diversity must apply the conflict of law rules of the state in
which it sits Klaxon Co. v. Stentor Elec. Mamrf Co., 313 U.S. 487, 61 S.Ct. 1020, 85 L.Ed.
1477 (1941); Crellin Technologies, Inc. v. Equzpment Lease Corp., 18 F.3d 1, 4 (lst Cir.l994).
Under Massachusetts choice of law rules, tort claims are governed by the law of the state in
which the injury occurred, unless another state has a more significant relationship to the
underlying cause of the case. Bergin v. Darrmouth Pharm., Inc_, 326 F. Supp. 179,183 (D. l\/lass.
2004). I-Iere, Florida law applies Allergan, through its sales representatives and marketing
teams promoted and sold the SERI SURGICAL SCAFFOLD to be used off-label by plastic
surgeons such as Dr. Marshall, the implanting physician in l\/liami, Florida. The procedure was
performed in Miami and the injuries occurred in Florida. Therefore, under the Massachusetts
choice of law rules, Florida laws should apply to the torts at issue in this case. Bergin v.
Darrmourh, snpm.; Asymmerrix Medz'cal, Inc., er al v. McKeon, 932 F. Supp. 232 (D. l\/Iass.

2013)(Gorton, .l.).

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B. Delaware Law Does Not Apply to the Question of Successor-in-
Interest Because Delaware Law is the Same as Massachusetts Law on
the Question of Successor Liability in Ccnnection with the Product
Line Theory.

Defendant Sofregen suggests that that Massachusetts choice of law rules must apply to

the determination of whether or not Sofregen, as the successor in ownership of SERI, is

 

responsible for torts that occurred as a result of use of the product earlier than its acquisition of
SERI. As this Court is aware, the Court sitting in diversity must first determine which state's
substantive law governs See Garcia v. Plaza Oldsmobr`le er., 421 F.3d 216, 219 (3d Cir.2005).
See Klaxon Co. v. Stenror Elec. Mfg. Co., 313 U.S. 487, 496, 61 S.Ct. 1020, 85 L.Ed. 1477
(1941); Yohannon v. Keene, 924 F.2d 1255, 1264 (3d Cir.1991). Defendant Sofregen is correct
that because choice of law analysis is issue-specific, differing states' laws may apply to different
issues in a single case, a principle known as “depecage.” See, e.g., Compagnie des Bauxires v.
Argonaut¢Mia'weSt Ins. Co., 880 F.2d 685, 691 (3d Cir.1989). And, Plaintiff agrees that Florida
law applies to her tort claims But, Plaintiff does not agree that Delaware law applies to the
question of successor in interest

Initially, however, the Court must determine whether a true conflict exists between the
application of l\/lassachusetts law, Florida law or, as Defendant suggests, Delaware law.
According to conflicts of law principles, where the laws of the different jurisdictions would
produce the same result on the particular issue presented, there is a “false conflict,” and the Court
should avoid the choice-of-law question entirely. See Williams v. Srone, 109 F.3d 890, 893 (3d
Cir.1997); Lucker Mfg. v. Home Ins. Co., 23 F.3d 808, 813 (3d Cir.1994) (applying Pennsylvania
choice-of-law rules). If this Court determines that there is no material difference between
Massachusetts and Florida and Delaware successor liability law, then, the Court need not decide

which state's law governs the successor liability issue.

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The ordinary rule of successor liability is rooted in corporate law, and it states that a firm
that buys assets from another firm does not assume the liabilities of the seller merely by buying
its assets. See, e.g., Luxliner P.L. Export Co. v. RDI/Luxliner, Inc., 13 F.3d 69 (3d Cir.1993);
Polz'us v. Clark Equr_`p., Co., 802 F.2d 75 (3d Cir.1986) (noting that the general rule of corporate

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15 William Meade Fletcher et al., Fletcher Cyclopedia of the Law of Private Corporations §
7122. The problem of characterization lies in the mottled nature of the exceptions to the ordinary
rule in successor liability law because they are not uniformly characterized as wholly based in
tort, contract, or corporate law. See, e.g., United States v. Geneml Batrery Corp., 423 F.3d 294,
301 (3d Cir.2005) (noting that the choice of law framework governing successor liability remains
“unsettled”); Savage Arms, Inc. v. Wesrern Auto Snpply Co., 18 P.3d 49, 53 (Alaska 2001)
(analyzing other states' approaches to successor liability law and concluding that successor cases
dealing with products liability are appropriately characterized as torts questions); Ruz'z, 89 F.3d at
326 (noting that many courts have “struggled to decide whether [successor liability] is part of
corporate law or tort law”); Webb v. Rodgers Mach. Mfg. Co., 750 F.2d 368, 374 (5th Cir.1985);
In re Asbesros Litz`garion (Bell), 517 A.2d 697, 699 (Del.Super.l986) (holding that
contract/corporate law applied to successor liability case based on legal effect of contract
between eorporations).

While the basic tenet of successor liability law is based in corporate law, the exceptions
span a loose substantive continuum from contract to corporate to tort law. There are four
traditional exceptions, all founded in corporate and contract law. See Rniz, 89 F.3d at 326. The
first exception covers situations where the buyer either expressly or implicitly agrees to assume

some or all of the seller’s liabilities lt is usually straightforward in application Because this

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exception is based on interpreting the terms of the parties' agreement, it is characterized most
strictly as contract law. See, e.g., T.H.S. Norrhstnr Associates v. W_R. Grace & Co., 840 F.Supp.
676, 677-78 (D.l\/linn.1993) (indicating that the Court would enforce the contractual choice of
law clause under an “express assumption of liability” theory of successor liability). Here, since

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The second exception applies where a transaction is entered into fraudulently in order to
evade liability. The third and fourth exceptions de facto merger and mere continuation, are
generally treated identically, see, e.g., Lwcliner, 13 F.3d at 73 (stating that “[m]uch the same
evidence is relevant to each determination,” and listing the same factors as necessary to
determine “whether either of these exceptions applies”), as both arise where there is continuity of
identity between the buyer and seller, see Ruiz, 89 F.3d at 325 (“In effect, the de facto merger
and continuation exceptions are identical; each exception depends upon an identity of ownership
between the seller and purchaser”). “Mere continuation’_’ analysis focuses on whether the new
corporation is merely a restructured form of the old, while de facto merger analysis inquires
whether a transaction_though structured as an asset purchaseifactually amounts to a
consolidation or merger.

Additionally, many states have adopted rules expanding successor liability in products
liability cases See Dawejko v. Jorgerzsen Steel Co., 290 Pa.Super. 15, 434 A.2d 106, 111 (1981);
Ramirez v. Amsi‘ed Industries, Inc., 86 N..l. 332, 431 A.2d 811, 824-825 (1981); see also Ray v.
Alaa' Corp., 19 Cal.3d 22, 136 Cal.Rptr. 574, 560 P.2d 3 (1977) (departing, for the first time,
from traditional corporate law grounding of successor liability).

Under the so-called “product line” theory, the successor corporation remains strictly

liable in tort for the defective products of its predecessor Thus, at one extreme lies the explicit

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and implicit assumption of liability exception, interpreted solely based on contract At the other,
lies the product line exception, which is generally analyzed using torts choice of law principles

Delaware courts recognize successor liability as a viable legal theory and, as well, that
there are exceptions to the general principle that purchasers of assets do not succeed to a seller's
liability.1Fehl1v.1S,W1C.1Corp.,143131F1.S1upp.,,93 91,7 914,51(]:)1.1Del.11 91717).1Qv1er1the1years,,,ho1we1ver,11111111111 ,
various courts have constructed several exceptions to this rule. These exceptions are the same as
the exceptions found under Massachusetts law.

The Delaware District Court, applying Delaware law, has opined that “in some limited
situations where an avoidance of liability would be unjust, a purported sale of assets for cash or
other consideration may be found to transfer liabilities of the predecessor corporation.” Fehl, 433
F.Supp. at 945. Thus, it is apparent that the rule whereby a purchasing corporation is obligated to
only those liabilities which it expressly assumes is not absolute.

Accordingly, theories exist upon which Sofregen may be held liable for the obligations of l
Allergan in connection with the SERI product, whether or not Defendant did not expressly
assume these liabilities pursuant to the asset transfer. Knapp and Fehl cases cited above are
products liability cases. None of the cases cited by Defendant expressly state nor even focus on
the fact that the exceptions to a successor corporation's assumption of liabilities are applicable
only to liabilities related to defective products Rather, the rationale behind those cases, that a
corporation, under the guise of an asset transfer, should not be permitted to take over the essence
of another corporation-that is, essentially merge with that other corporation-yet avoid certain
liabilities of the predecessor corporation which it does not wish to assume, applies equally to tort

and non-tort cases alike.

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Undeniably, to prevail on such a theory, Plaintiff must meet the rigorous standard of
showing that Sofregen is a “continuation” of Allergan in connection with the manufacture, sale
and continued promotion of the SERI product Based upon Plaintiff s showing of a certain set of

facts in the Amended Complaint before this Court, a theory exists upon which Plaintiff Gianna

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is required to withstand a Rule 12(b)(6) motion to dismiss Corporate Properly Associnres 8, LP
v. Amersig Graphics (unreported op.), 2014 WL 148269 (Del. Chancery Court 1994).

C. Plaintiff has set forth Sufficient Facts to Make out Her Claims against
Sofregen.

The gravamen of Defendant’s argument is simply that as successor in interest to this
product, it cannot be held liable for the Product’s defective and dangerous nature. Because this
is a product liability action, successor s in interest may be held liable for the product’s defects
under Massachusetts law as well as under Florida law and Delaware law. Without discovery,
Plaintiff cannot represent more facts These defenses are premature at this point.

D. The Claims against Sofregen are Not Preempted.

Through the Medical Device Amendments (“l\/IDA”), Congress established a three-tiered
system for federal oversight of medical devices The SERI SCAFFOLD is not the subject to the
highest level of federal oversight 21 U.S.C. § 360c(a)(1)(C)(ii)(11).

The core set of operative facts supporting Ms. Krstic’s cause of action, and all of the legal
theories flowing therefrom, is the Defendant’s off-label marketing of a dangerous device,
dissemination of false and misleading marketing materials The authority from the Supreme
Court leads inexorably to the conclusion that the Plaintiff’ s claims are not preempted ln May,
2015, after the device was implanted into l\/ls. Krstic, the he Food and Drug Administration

issued a warning to Allergan lnc., the manufacturer of the Seri Surgical Scaffold Device, that

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marketing their products for breast surgery indications had not yet received approval or clearance
by the federal agency. This came after the agency reviewed the company’s website and found the
scaffold was being marketed for off-label breast surgery applications The Food and Drug

Administration concluded that the issues “would constitute a major change in its modification to

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the manufacturer that breast surgery indication was not be approved the intended use of the
surgical mesh device because the product “has not been cleared cr approved for use in breast
reconstruction using tissue expander or implant.” lnstead, clearance for the product was
approved because it could be used “as a transitory scaffold for soft tissue support and repair to
reinforce deficiencies where weakness or voids exist that require the addition of material to
obtain the desired surgical outcome.”.The FDA in their letter was referring to indications as soft-
tissue reinforcement and general soft~tissue reconstruction that is often necessary for
reconstructive or plastic surgeries Here, the device was used as a complete scaffold for Ms.
Krstic’s breast reconstruction, a use that was specifically not indicated in the approval by FDA.

Under Florida law, there is no wholesale preemption for claims against manufacturers of
devices cleared through 5the 510(k) process Therefore, Defendants’ wholesale argument that all
of Plaintiffs’ claims are preempted is not well-founded, and the motion to dismiss on this basis
should be denied

1. THE ME])ICAL DEVICE AMENDMENTS

The Medical Device Amendments of 1976, 21 U.S.C. § 3600 et seq., were enacted to
amend the FDA‘s enabling statute, the Food, Drug, and Cosmetic Act, id § 301 et seq. The
l\/ledical Device Amendments gave the FDA regulatory authority over medical devices for

human use. See § 3600 et seq. Under that authority, the FDA classifies medical devices into three

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categories depending on the level of risk presented See Riegel v. Medtronic, Inc., 552 U.S. 312,
316_17, 128 S.Ct. 999, 1003, 169 L.Ed.2d 892 (2008). But, the device at issue here is not a Class
111 device requiring these protections See id.; 21 U.S.C. § 360c(a)(1); 21 C.F.R. § 888

Premarket approval is a rigorous process of federal review that evaluates a medical

1¢ 1 11 1devicefs1safetya_ndeffectiveness.,,See,Riegel,,552,1U.S.1at13,117:20,1128,S,.Ct.1at11,01041-10_51 1 11 111111111
(describing this process). This process takes on average, about 1,200 hours of review by the
FDA. Id. at 318, 128 S.Ct. 999. For each device, the FDA compiles a large amount of data and
carefully weighs the risks and benefits See fd. Even once approved, the FDA regularly attaches
specific conditions to a device. See id. at 319, 128 S.Ct. 999; 21 U.S.C. § 360j(e)(1). And after
the FDA approves a device, the manufacturer may not make any change to the device‘s
specifications or anything else that might affect its safety and effectiveness unless it submits a
supplemental application to the FDA. 21 U.S.C. § 360e(d)(5)(A)(i). The FDA must be informed
of changes to the manufacturing process Ici. The manufacturer must report information to the
FDA, including new studies about the device and any adverse events 1d. § 360i; 21 C.F.R. §§
803.50(a), 814.84(b)(2).

Howcver, a 510(k) device, like the one at issue here, does not go through the same
rigorous process The same legal protections do not apply. The 510(k) review process
originates from the l\/ledical Device Amendments of 1976 (MDA) to the Federal Food, Drug, and
Cosmetic Act. The MDA was enacted in order to “impose[] a regime of detailed federal
oversigh ” of medical devices Riegel v. Medrroaic, Inc., 552 U.S. 312, 316, 128 S.Ct. 999, 169
L.Ed.2d 892 (2008). Under the MDA, certain devices must complete a thorough premarket
approval (Pl\/IA) process with the FDA before they may be marketed, including all devices that

cannot “provide reasonable assurance of the[ir] safety and effectiveness” under less stringent

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scrutiny, and that are “purported or represented to be for a use in supporting or sustaining human

life or for a use which is of substantial importance in preventing impairment of human health” or

“present[ ] a potential unreasonable risk of illness or injury.” Id. at 317, 128 S.Ct. 999; 21 U.S.C.

§ 3600(a)(1)(C). The PMA process requires the applicant to demonstrate a “reasonable

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recommended or suggested in the proposed labeling thereof.” Buckman Co. v. Plaintiffs' Legal
Comm., 531 U.S. 341, 344, 121 S.Ct. 1012, 148 L.Ed.2d 854 (2001); 21 U.S.C. § 360e(d)(2)(A),
(B).

An exemption to the PMA requirement exists for medical devices that were already on
the market prior to the MDA's enactment in 1976; these devices are allowed to remain on the
market until the FDA initiates and completes Pl\/lA review for them. See 21 U.S.C. §
360e(b)(1)(A); Buckman, 531 U.S. at 345, 121 S.Ct. 1012. ln order to ameliorate the
monopolistic consequences of this exemption, the MDA also allows other manufacturers to
market devices that are shown to be “substantially equivalen ” to pre_l976 devices that are
exempt from the Pl\/IA requirement Buckman, 531 U.S. at 345, 121 S.Ct. 1012 (citing §
360e(b)(1)(l3)). The 510(k) process is the method by which a manufacturer demonstrates
substantial equivalence Id.

Notably, the PMA and 510(k) processes have distinct requirements and different goals
PMA “is federal safety review,” Rz'egel, 552 U.S. at 323, 128 S.Ct. 999, whereas “the 510(k)
process is focused on equivalence, not safety,” Medtronic, Inc. v. Lohr, 518 U.S. 470, 493, 116
S.Ct. 2240, 135 L.Ed.2d 700 (1996) (quotation omitted and alteration adopted). lndeed, “devices

that enter the market through § 510(k) have never been formally reviewed for safety or

efficacy.” Rr'egel, 552 U.S. at 323, 128 S.Ct. 999 (quotation omitted). Rather, the 510(k)

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exemption is “intended merely to give manufacturers the freedom to compete, to a limited
degree, with and on the same terms as manufacturers of medical devices that existed prior to
1976.” Lohr, 518 U.S. at 494, 116 S.Ct. 2240.

These differences are reflected in the intensity of review: “[l]n contrast to the 1,200 hours

necessary to complete alll,\/hareview, the § 510(1<) review/113 completed in an averag;; of only120

 

hours.” Id. at 479, 116 S.Ct. 2240; see also Goodlin v. Medrronic, Inc., 167 F.3d 1367, 1369 n.l
(11th Cir. 1999) (“[T]he FDA completes the average 510k review within 20 hours and the
agency considers only whether the device is indeed the equivalent of a preexisting device_
regardless of how unsafe or ineffective the grandfathered device happens to be.”). The two
processes are “by no means comparable.” Lohr, 518 U.S. at 478, 116 S.Ct. 2240.

The 510(k) review process is not relevant to a products safety. As such, the claims
against the manufacturer of the product for negligence and failure to warn are not preempted as
they would be in the context of a PMA approved device. Icrl. See Eghrzayem v. Boston Scienfific,
873 F.3d 1304 (11th Cir. 2017)(applying Florida law).

E. There is a Clear Chain of Causation.

ln order to make out a successful failure to warn theory, the evidence must establish two
elements: “A plaintiff seeking to recover damages for the failure to wam must prove that the
defendant (1) is a manufacturer or distributor of the product at issue, and (2) did not adequately
warn of a particular risk that was known or knowable in light of the generally recognized and
prevailing best scientific and medical knowledge available at the time of the manufacture and
distribution Thomas v. Bombardier Recreational Prods., Inc. 682 F.Supp.2d 1297, 1300

(l\/I.D.Fla.2010). The plaintiff must also establish that the inadequate warning was a proximate

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cause of her injury. Hojjfmann La Roche, Inc. v. Mason, 27 So.3d 75, 77 (Fla. 5th DCA 2009)”
Small v Amgen, 134 F. Supp. 3d 1358, 1366-67 (MDFL 2015).
Here, Plaintiff plausibly alleges that the requisite causal nexus between Defendants’

violation of this duty to report adverse events by the MDRs, and the Plaintiffs’ injuries Section

1 1 1 316(1k1prntec1n a1 m1edi1ca1 device rn ufac1tur1er from liability only:tdtheextent that it1has111 11 111 1111

complied with federal law, but it does not extend protection from liability where the [state tort]
claim is based on a violation of federal law.” Bausch v. Srryker Corp., 630 F.3d at 552. Plaintiff
has alleged that Defendants violated state tort law, namely, by failing to warn physicians about
the risks of the SERl product because of the undisclosed dangers of use of the product lt is
because of this simple fact-that Plaintiff’ s cause of action is a traditional state failure to warn
theory and negligence-that it is not preempted Plaintiff s claim survives implied preemption in
addition to express preemption

The SAC adequately states a claim that the SERI SURGICAL SCAFFOLD was defective
on a failure to warn theory. 1t is alleged that Defendants were aware of adverse events
associated with the use of SERI _instances in which it malfunctioned and posed a danger to
patients_ and that it did not warn the FDA and the general public about this danger, concealing
information Defendants were required to report, thereby putting potential users at risk from the
danger it posed Specifically, Defendants put Ms. Krstic at risk for precisely the dangers with
the device that she caused her injuries for which she continues to suffer.

rn. THE MOTION FoR LEAVE To AMEND THE CoMPLArNT PURSUANT
To RULE rs(a)(z) sHoULD BE GRANTED.

Plaintiff moves to amend her complaint to address certain issues raised by

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Sofregen in its motion to dismiss Sofregen is correct that the Massachusetts Consumer
Protection Act claim does not apply, since the device was sold in Florida. F or all of these
reasons leave to file the Second Amended Complaint should be permitted

IV. CONCLUSION

1111 for all the reasons ap set forth in the accompanyingMemorandunL of Law, Plaintiff

 

 

 

respectfully requests that this Court grant the Motion to Vacate the Order of Dismissal, deny

Sofregen’s Motion to Dismiss and Grant Plaintiff s Motion for Leave to file the Second

 

Amended Complaint.
GIANNA KRSTIC,
By l-Ier Attomey,
Dated: April 10, 2019 /s/Paula S. Bliss
Paula Bliss

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CERTIFICATE OF SERVICE

1 hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)

and paper copies will be sent to those indicated as non:registered participants on April 10, 2019.

 

 

/s/ Paula S. Bliss

 

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